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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JESSICA L. LIVINGSTON,

       Plaintiff,

v.                                                           Case No. 8:11-cv-00325

POLLACK & ROSEN, P.A.,

      Defendant.
__________________________________________/

                            NOTICE OF PENDING SETTLEMENT

       Plaintiff, by and through undersigned counsel, hereby files this Notice of Pending

Settlement, stating that the parties have reached a verbal settlement with regard to this case and

are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of the same, the parties will file the appropriate dismissal documents with the Court.

                                                      Respectfully submitted,

                                                      /s/ Joseph B. Battaglia
                                                      Joseph B. Battaglia, Fla. Bar No.: 0058199
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                                                      THE GOLDEN LAW GROUP
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                                                      Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 31st day of August 2011, a true and correct copy of

the foregoing has been provided via CM/ECF, to those parties registered to receive such notice.

                                                      /s/ Joseph B. Battaglia
                                                      Joseph B. Battaglia, Fla. Bar No.: 0058199
